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       AFFIDAVIT OF SPECIAL AGENT BRIAN GUTIERREZ IN SUPPORT OF
                 AN APPLICATION FOR SEARCH WARRANTS

       I, Brian Gutierrez, state:

                          INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent with the Federal Bureau of Investigation

("FBI") since October 2019. I am currently assigned to the Domestic Terrorism squad of the

FBI's Boston Division. Before being employed as an FBI agent, I served as a U.S. Customs and

Border Protection Officer for over four years. I have a Bachelor of Arts in Public Administration

from Northern Illinois University.

       2.      As an FBI Agent, I am responsible for the investigation of federal criminal

offenses. I have participated in various investigations involving national security matters. I

routinely work with agents, troopers, and officers with dozens of years of experience

investigating crimes involving organized criminal groups and terrorist organizations. In my

capacity as a special agent, I have received training and gained experience in search and seizure,

the use of confidential human sources, international and domestic terrorism, violent crimes,

computer crimes, and various other crimes. As a result of my training and experience, I am

familiar with the tactics, methods and techniques used by terrorist networks and their members,

including the use of computers, cell phones, social media, email, and the internet in connection

with criminal activity.

       3.      I submit this affidavit in support of an application for a criminal complaint

alleging that on or about August 30, 2022, Catherine LEAVY used the telephone to convey a

false bomb threat in violation of Title 18, United States Code, Section 844(e).

       4.      Section 844(e) provides that “whoever, through the use of the mail, telephone,

telegraph, or other instrument of interstate or foreign commerce, or in or affecting interstate or
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foreign commerce, ... maliciously conveys false information knowing the same to be false,

concerning an attempt or alleged attempt being made or to be made to kill, injure, or intimidate

any individual or unlawfully to damage or destroy any building, vehicle, or other real or personal

property, by means of fire or an explosive, shall be imprisoned for not more than 10 years or

fined under this title, or both.”

        5.       The facts in this affidavit come from my personal observations and review of

records, my training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause for the requested search

warrant and does not set forth all of my knowledge about this matter.

    PROBABLE CAUSE TO BELIEVE THAT A FEDERAL CRIME WAS COMMITTED

        6.       Beginning in August 2022, the Federal Bureau of Investigation has been involved

in monitoring threats made against Boston Children's Hospital ("BCH") and its employees.

        7.       BCH is a pediatric hospital located in Boston, Massachusetts. As one of the

largest pediatric hospitals in the United States, BCH provides a complete range of healthcare

services for children of all ages.    BCH is also home to the Gender Multispecialty Service

(“GeMS”), which, according to BCH, provides the highest level of individualized, safe, and

affirmative care to gender-diverse and transgender individuals and their families. Founded in

2007, GeMS was the first major program in the U.S. to focus on gender-diverse and transgender

adolescents.

        8.       Beginning in August 2022, BCH was subjected to a sustained harassment

campaign based on the dissemination of information online regarding the services offered by

GeMS.        Specifically, BCH and GeMS were accused of engaging in child abuse involving

pedophilia, grooming, and mutilation of children. This conduct has included harassing phone



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calls and emails, individual violent and death threats, and threats of mass casualty attacks at

BCH.

       9.      On August 30, 2022, BCH received a telephonic bomb threat at approximately

7:45 p.m. BCH systems recorded the call and provided it to law enforcement. Based on call

detail records provided by BCH, the call was received from phone number 413-474-8653 (“the

Target Telephone”). The entirety of the call is transcribed below:

               [Operator]: Boston Children's hospital, this is [name], how may I help you?

               [Subject]: There is a bomb on the way to the hospital, you better evacuate
               everybody you sickos.

       10.     As a result of the call, BCH and the surrounding area was placed in lockdown

status and a bomb squad was dispatched to BCH. After conducting an investigation, there were

no explosive devices located at BCH.

       11.     Law enforcement obtained subscriber and call detail records from T-Mobile for

the Target Telephone.     T-Mobile identified the subscriber as Catherine LEAVY, residing in

Westfield, Massachusetts. Call detail records for the Target Telephone show that it called BCH

at the time of the threat. Records from T-Mobile also indicate that the Target Telephone is a

cellular telephone.

       12.     On September 1, 2022, United States Magistrate Judge Judith G. Dein signed a

warrant ordering T-Mobile to provide precise location information for the Target Telephone.

That warrant was served on T-Mobile and agents started receiving location information pursuant

to the warrant on September 1, 2022. According to that information, the Target Telephone is

consistently located in or around Westfield, Massachusetts, which is consistent with LEAVY’s

continued possession of the Target Telephone at her residence.           However, the location

information was insufficiently precise to identify a specific location in Westfield where the

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Target Telephone was located.

       13.     Similarly, on September 7, 2022, United States Magistrate Judge Donald L.

Cabell signed a warrant ordering T-Mobile to provide historical cell-site location information for

the Target Telephone.     Agents received location information pursuant to the warrant on

September 13, 2022, and conducted an initial analysis. That location information indicates that

at the time the Target Telephone called BCH on August 30, 2022, the Target Telephone pinged

off of a cell tower located in Montgomery, Massachusetts.               Montgomery is located

approximately ten miles from LEAVY’s residence. On other occasions over the course of the

past month, the Target Telephone pinged off of a cell tower located in Westfield, Massachusetts.

       14.     On September 15, 2022, FBI agents interviewed LEAVY at her residence. The

interview was recorded. LEAVY initially denied knowing the location of her cellular telephone

and denied making the threat to BCH on August 30, 2022. Agents continued to interview

LEAVY and played an audio-recording of the August 30, 2022, phone call to BCH. Agents also

told LEAVY that phone records reflected that her phone was used to make the threat. During the

interview, LEAVY expressed disapproval of BCH on multiple occasions. When agents further

questioned her based on those beliefs, LEAVY admitted that she called BCH on August 30,

2022, and made the threat. LEAVY stated that she had no plan or intention to actually bomb

BCH.

       15.     While at LEAVY’s residence, FBI agents recovered the Target Telephone from

LEAVY’s bedroom pursuant to a federal search warrant.

                                        CONCLUSION

       16.     Based on the information developed during this investigation and set out in this

affidavit, there is probable cause to believe that on August 30, 2022, LEAVY made a false



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telephonic bomb threat, in violation of Title 18, United States Code, Section 844(e).

       Sworn to under the pains and penalties of perjury,


                                                     ____________________
                                                     Brian Gutierrez
                                                     Special Agent, FBI


Sworn and subscribed before me this 15th day of September, 2022.


_________________________________________
HONORABLE JUDITH G. DEIN
UNITED STATES MAGISTRATE JUDGE




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